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                      IN THE UNITED STATES DISTRICT COURT
                           NORTHERN DISTRICT OF OHIO
                                EASTERN DIVISION


JAMES TIMMERBERG,                              )   CASE NO. 4:22-cv-02298
                                               )
     Plaintiff,                                )   JUDGE SOLOMON OLIVER, JR.
                                               )
v.                                             )   NOTICE OF WITHDRAWAL OF
                                               )   TAYLOR IACOBACCI, COUNSEL FOR
LAW OFFICES OF ROBERT A.                       )   DEFENDANT LAW OFFICES OF
SCHUERGER CO., L.P.A.,                         )   ROBERT A. SCHUERGER CO., LPA
                                               )
     Defendant.                                )


       Undersigned counsel hereby gives notice that Taylor M. Iacobacci, who originally

appeared in this matter as counsel for Defendant, Law Offices of Robert A. Schuerger Co., LPA,

is no longer affiliated with Gallagher Sharp, LLP and therefore is respectfully providing notice

of his withdrawal. All further pleadings, correspondence, and communications in this matter

should be directed to the attention of Lori E. Brown of Gallagher Sharp LLP.

                                                   Respectfully submitted,

                                                   /s/ Lori E. Brown
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                                CERTIFICATE OF SERVICE

        I hereby certify that on this 26th day of June 2023, a copy of the foregoing was filed
electronically with the Court. Notice of this filing will be sent to all parties by operation of the
Court’s electronic filing system. Parties may access this filing through the Court’s system.


                                                     /s/ Lori E. Brown
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